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 5
     Attorney for Defendant
 6   MICHELLE TRUONG

 7                                    UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                                       Case No. 2:12-CR-00049 GEB
 9
                                              Plaintiff
10
                                     v.                              STIPULATED REQUEST
11                                                                   FOR CONTINUANCE;
     MICHELLE TRUONG                                                 PROPOSED ORDER
12
                                               Defendant.            Date: MAY 25, 2017
13

14
     TO: Shani Furstenau, Courtroom Clerk to the Hon. Garland E. Burrell, Jr.
15
             The parties, along with the assigned Probation Officer, agree and request that the Judgment and
16
     Sentencing of Michelle Truong in the above entitled matter currently set for June 16, 2017 at 9:00 a.m.
17

18   be continued to September 8, 2017 at 9:00 a.m.

19           The parties agree to the following schedule;

20   Judgment and Sentencing Date: September 8, 2017;
21   Reply or Statement of Non-Opposition: September 1, 2017;
22
     Motion for Correction of the Presentence Report shall be filed with the court and served on the
23
     Probation Officer and opposing counsel no later than August 25, 2017;
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     The Presentence Report shall be filed with the Court and disclosed on counsel no later than August 18,
25

26   2017;

27   Counsel’s written objections to the Presentence Report shall be delivered to the Probation Officer and

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                                                            1
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     opposing counsel no later than August 11, 2017;
 1
 2   The Proposed Presentence Report shall be disclosed to counsel no later than August 4, 2017.

 3
     IT IS SO STIPULATED.
 4
     DATED:     May 25, 2017           /s/Todd Pickles TODD PICKLES
 5
                                       Assistant United States Attorney
 6
     DATED:     May 25, 2017           /s/Julie Besabe JULIE BESABE US Probation Officer
 7
     DATED:     May 25, 2017           /s/Paul Dennison PAUL DENNISON Attorney for defendant
 8                                     Michelle Truong
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12
                                                    ORDER
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                IT IS SO FOUND AND ORDERED.
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     Dated: May 26, 2017
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